       Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D23-1364
                       Lower Tribunal No. 15-16147
                          ________________


         Poinciana West 1A Condominium Association,
                                  Appellant,

                                     vs.

           Aspen Specialty Insurance Company, et al.,
                                 Appellees.



     An Appeal from a non-final order from the Circuit Court for Miami-Dade
County, Peter R. Lopez, Judge.

      Alvarez, Feltman, Da Silva &amp; Costa, P.L., and Paul B. Feltman, for
appellant.

     Berk, Merchant &amp; Sims, PLC, and Patrick E. Betar and Jonathan D.
Tobin, for appellee Aspen Specialty Insurance Company.


Before SCALES, MILLER, and BOKOR, JJ.

     PER CURIAM.
     Affirmed. See Citizens Prop. Ins. Corp. v. Galeria Villas Condo. Ass’n,

48 So. 3d 188, 191 (Fla. 3d DCA 2010) (concluding that, because the

condominium association failed to produce the condominium’s bylaws,

minutes of the condominium association’s board meetings, and contracts for

property management services, there was no “disagreement” under the

policy’s appraisal provision and, therefore, the condominium association’s

demand for an appraisal was not ripe).




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